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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               GREENVILLE DIVISION

  IN RE:                       )
                               )                            Case No. 19-00730-5-JNC
  CAH ACQUISITION COMPANY #1, )
  LLC, d/b/a WASHINGTON COUNTY )                            Chapter 11
  HOSPITAL,                    )
                               )
             Debtor.           )
                               )

             TRUSTEE’S OMNIBUS MOTION FOR AUTHORITY TO
    REJECT PRE-PETITION EXECUTORY CONTRACTS OR UNEXPIRED LEASES

        NOW COMES Thomas W. Waldrep, Jr., trustee (the “Trustee”) for CAH Acquisition

 Company #1, LLC d/b/a Washington County Hospital (the “Debtor”), by and through undersigned

 counsel, and pursuant to Sections 365 and 1107 of Title 11 of the United States Code, 11 U.S.C.

 §§ 101 et seq. (the “Bankruptcy Code”), and Rule 6006 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), and hereby moves the Court for entry of an order authorizing

 the Trustee to reject certain pre-petition executory contracts or unexpired leases between the

 Debtor and the various counterparties detailed in this Motion at Paragraph 16 (the “Executory

 Contracts,” and each individually, an “Executory Contract”). In support thereof, the Trustee

 respectfully states as follows:

                                   JURISDICTION AND VENUE

        1.       This Court has jurisdiction to entertain the Motion pursuant to 28 U.S.C. §§

 157 and 1334. Consideration of the Motion is a core proceeding pursuant to 28 U.S.C. §

 157(b)(2)(A).

        2.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




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           3.   The statutory predicates for the relief requested herein are Bankruptcy Code

 Sections 365 and 1107, and Bankruptcy Rule 6006.

                                  FACTUAL BACKGROUND

 Procedural Background

           4.   On February 19, 2019 (the “Petition Date”), Washington County, North Carolina,

 Medline Industries, Inc., and Dr. Robert Venable (collectively, the “Petitioning Creditors”) filed

 an involuntary petition for relief under Chapter 7 of the Bankruptcy Code against the Debtor [Dkt.

 No. 1].

           5.   On February 20, 2019, the Petitioning Creditors filed an Emergency Motion for

 Order Appointing Trustee Pursuant to 11 U.S.C. § 303(g) [Dkt. No. 5].

           6.   On February 22, 2019, the Court entered an Order approving the appointment of

 the Trustee [Dkt. No. 14]. The Trustee is the duly appointed, qualified, and acting trustee of the

 Debtor’s estate.

           7.   On February 25, 2019, the Trustee filed his Emergency Ex Parte Motion for Order

 for Authority to Operate Washington County Hospital Pursuant to 11 U.S.C. § 303(g) [Dkt. No.

 18].

           8.   On February 26, 2019, the Court entered an Order authorizing the Trustee to operate

 the business of the Debtor during the period of time that the Trustee remains in place, to the

 exclusion of any other parties [Dkt. No. 19].

           9.   On March 14, 2019, the Debtor filed an Emergency Motion for Entry of Order for

 Relief and to Convert Involuntary Chapter 7 Case to Chapter 11 Case and Consent to Appointment

 of Chapter 11 Trustee [Dkt. No. 27].




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        10.     On March 15, 2019, the Court entered an Order for Relief in the Debtor’s Chapter

 7 case and simultaneously converted the Debtor’s case from one under Chapter 7 to one under

 Chapter 11 of the Bankruptcy Code [Dkt. No. 28].

 The Sale of the Debtor’s Assets

        11.     On November 6, 2019, the Trustee filed the Trustee’s Motion for (I) an Order (A)

 Establishing Bidding Procedures, (B) Approving Stalking Horse Bidder, (C) Approving Form and

 Manner of Notices, (D) Scheduling Hearing to Consider Final Approval of Sale and Treatment of

 Executory Contracts and Unexpired Leases, and (E) Granting Related Relief; and (II) an Order

 (A) Approving Sale Free and Clear of All Liens, Claims, Interests, and Encumbrances, (B)

 Authorizing Assumption and Assignment of Certain Executory Contracts and Unexpired Leases,

 and (C) Granting Related Relief (the “Sale Motion”) [Dkt. No. 519] seeking the entry of an Order

 approving the sale of substantially all of the Debtor’s assets pursuant to the terms of a stalking horse

 asset purchase agreement (the “APA,” in its original form and as subsequently modified) by and

 between the Trustee and Affinity Health Partners, LLC (“Affinity”).

        12.     On December 6, 2019, the Trustee filed the Notice of Executory Contracts and

 Unexpired Leases Subject to Possible Assumption and Assignment and Proposed Cure Amounts

 (the “First Executory Contract Notice”) [Dkt. No. 576]. The First Executory Contract Notice was

 sent to all then-known Executory Contract counterparties, less and except any counterparties to

 contracts or leases for which the Trustee had already sought and received authority to reject.

        13.     As noted in the Order (A) Approving Sale Free and Clear of All Liens, Claims,

 Interests, and Encumbrances, (B) Authorizing Assumption and Assignment of Certain Executory

 Contracts and Unexpired Leases, and (C) Granting Related Relief (the “Sale Order”) [Dkt. No.

 686], the First Executory Contract Notice was premature, as Affinity had not yet reviewed nor



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 confirmed its intent to assume or reject any of the Executory Contracts. Additionally, following

 the filing and service of the First Executory Contract Notice, the Trustee was contacted by

 additional parties to Executory Contracts omitted from the Debtor’s Schedules and Statement of

 Financial Affairs.

         14.      Pursuant to the APA attached to the Sale Order, Affinity intended to assume only

 the Debtor’s Medicare and Medicaid provider agreements with the Centers for Medicare and

 Medicaid Services as well as certain “payer contracts”—contracts under which the Debtor is the

 beneficiary of a receivable—at the closing of the sale of the Debtor’s assets.

         15.      The sale of the Debtor’s assets to Affinity closed on April 20, 2020 (the “Closing

 Date”), and thereafter Affinity confirmed its intent to only assume the Debtor’s provider

 agreements.

         16.      Accordingly, the Trustee submits that the below listed Executory Contracts should

 be deemed rejected as of the Closing Date:

       Executory Contract                Contract Name, If Known,                 Proof of Claim (“POC”)
         Counterparty                       or Subject Matter                      Number or Schedules
                                                                                         Reference
        Airgas USA, LLC                     Lease of Gas Cylinders                      POC No. 35
         Baxter Healthcare                 Lease of Spectrum Pump                        POC No. 1
     Blue Cross Blue Shield of                Insurance Provider                        POC No. 79
          North Carolina                          Agreement
      Beckman Coulter, Inc.                IDN Master Agreement                          POC No. 6
     Cigna Healthcare of North                Insurance Provider                       POC Nos. 20, 23
           Carolina, Inc.                         Agreement
        Laureen C. Koehler                 Nurse Practitioner PRN                       Schedule G, 2.3
                                           Employment Agreement
      M2 Lease Funds, LLC                      Lease of Copiers                           POC No. 38
           MedCost                            Insurance Provider                            N/A1
                                                  Agreement
           Lois Roberson                      Nurse Practitioner                        Schedule G, 2.4
                                           Employment Agreement

 1
  Referenced as a then-current or former contracted insurance provider on disclosures provided to the Trustee by the
 Debtor’s pre-petition manager, iHealthcare LLC.

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           Optima Health                      Insurance Provider                               N/A2
                                                  Agreement
     Siemens Financial Services               “Equipment Lease                            POC No. 66
                                         Agreement #: 33056-47615”
                                          of DX CA 620 and Related
                                                  Equipment
         Cameron B. Smith                     Nurse Practitioner                        Schedule G, 2.1
                                           Employment Agreement
         Chrystie L. Stowe               Advanced Practice Registered                   Schedule G, 2.2
                                              Nurse Employment
                                                  Agreement
         United Healthcare                    Insurance Provider                               N/A3
                                                  Agreement
      Robert L. Venable, M.D.               Physician Employment                        Schedule G, 2.5
                                                  Agreement


         17.      The above-listed Executory Contracts are the only such contracts or unexpired pre-

 petition agreements known to the Trustee at this time.

                                            RELIEF REQUESTED

 Authority to Reject the Executory Contracts

         18.      The Trustee seeks authority from this Court, pursuant to Section 365 of the

 Bankruptcy Code and Bankruptcy Rule 6006, to reject the Executory Contracts, each an executory

 contract or unexpired lease, because each Executory Contract (i) is no longer necessary or

 appropriate in connection with the operation of WCH’s business, (ii) offers no economic value to

 the Debtor’s estate, and (iii) will impede the goal of achieving a successful reorganization.

         19.      Section 365(a) authorizes a trustee or debtor-in-possession to reject any executory

 contract or unexpired lease, subject to bankruptcy court approval. 11 U.S.C. § 365(a).




 2
   Referenced as a then-current or former contracted insurance provider on disclosures provided to the Trustee by the
 Debtor’s pre-petition manager, iHealthcare LLC.
 3
   Referenced as a then-current or former contracted insurance provider on disclosures provided to the Trustee by the
 Debtor’s pre-petition manager, iHealthcare LLC.

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        20.     Although Section 365(a) does not provide a standard for determining when

 rejection is appropriate, bankruptcy courts have traditionally applied the “business judgment

 standard in determining whether to permit the rejection of any executory contract or unexpired

 lease.” See NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984); Lubrizol Enters., Inc. v.

 Richmond Metal Finishes, Inc., 756 F.2d 1043, 1046-47 (4th Circ. 1985); In re Minges, 602 F. 2d

 38, 42 (2d Cir. 1979). The decision to reject a lease or executory contract is to be accepted unless

 it is shown that the debtor’s decision was one taken in bad faith or in gross abuse of the debtor’s

 retained business discretion. Lubrizol, supra.

        21.     The Executory Contracts have been reviewed by Affinity, the purchaser of the

 Debtor’s assets pursuant to the Sale Order and APA, and Affinity has expressed its intent to replace

 any such leased equipment or contracts for services with leases and contracts that it, Affinity, has

 negotiated. As a result, the Trustee sees no economic benefit to the Debtor’s estate or the creditors

 thereof to assume the Executory Contracts, and thus, the Executory Contracts must be rejected.

        22.     For the reasons stated herein, the Trustee has satisfied the business judgment

 standard in seeking rejection of the Executory Contracts and requests authority from this Court to

 do so effective as of the Petition Date.

        23.     No statements or representation herein shall serve as a stipulation to or admission

 of the amounts or characterizations of the Executory Contract counterparties’ asserted claims

 against the Debtor’s estate, if any. The Trustee reserves all rights with respect to Executory

 Contract counterparties’ claims as asserted and as may be subsequently modified.

        WHEREFORE, the Trustee respectfully requests that the Court enter an Order:




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        1.     Authorizing the Trustee to reject the Executory Contracts, each of which is an

 executory contract or unexpired lease, by and between the Executory Contract counterparties and

 the Debtor effective as of the Closing Date, pursuant to Section 365(a) of the Bankruptcy Code;

        2.     Granting such other and further relief as this Court deems just and proper.

 Respectfully submitted, this the 8th day of May, 2020.

                                       WALDREP LLP

                                       /s/ Jennifer B. Lyday
                                       Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                       James C. Lanik (NC State Bar No. 30454)
                                       Jennifer B. Lyday (NC Bar No. 39871)
                                       Francisco T. Morales (NC Bar No. 43079)
                                       101 S. Stratford Road, Suite 210
                                       Winston-Salem, NC 27104
                                       Telephone: 336-717-1440
                                       Telefax: 336-717-1340
                                       Email: notice@waldrepllp.com

                                      - and –

                                       HENDREN, REDWINE & MALONE, PLLC

                                       Jason L. Hendren (NC State Bar No. 26869)
                                       Rebecca F. Redwine (NC Bar No. 37012)
                                       4600 Marriott Drive, Suite 150
                                       Raleigh, NC 27612
                                       Telephone: 919-420-7867
                                       Telefax: 919-420-0475
                                       Email: jhendren@hendrenmalone.com
                                             rredwine@hendrenmalone.com

                                      Attorneys for the Trustee




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  IN RE:                       )
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  CAH ACQUISITION COMPANY #1, )
  LLC, d/b/a WASHINGTON COUNTY )                               Chapter 11
  HOSPITAL,                    )
                               )
             Debtor.           )
                               )

        NOTICE OF TRUSTEE’S OMNIBUS MOTION FOR AUTHORITY TO
    REJECT PRE-PETITION EXECUTORY CONTRACTS OR UNEXPIRED LEASES

     NOTICE IS HEREBY GIVEN that the Trustee has filed a TRUSTEE’S OMNIBUS
 MOTION FOR AUTHORITY TO REJECT PRE-PETITION EXECUTORY
 CONTRACTS OR UNEXPIRED LEASES (the “Motion”).

        FURTHER NOTICE IS HEREBY GIVEN that the Motion filed by the Trustee may be
 allowed provided no responses and request for hearing is made by a party-in-interest in writing to
 the Clerk, United States Bankruptcy Court, P.O. Box 791, Raleigh, NC 27602, within
 FOURTEEN (14) DAYS from the date of this notice, and,

        FURTHER NOTICE IS HEREBY GIVEN that any responses to the Motion shall also be
 mailed to the Trustee at the address given below.

         FURTHER NOTICE IS HEREBY GIVEN that, if a response and request for hearing is
 filed by a party-in-interest in writing within the time indicated, a hearing will be conducted on the
 Motion and Response thereto at a date, time, and place to be later set by the Court, and all interested
 parties will be notified accordingly. If no request for hearing is timely filed, the Court may rule
 on the Motion and any Response thereto ex parte without further notice.

        DATE OF NOTICE: May 8th, 2020

                                         WALDREP LLP

                                         /s/ Jennifer B. Lyday
                                         Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                         James C. Lanik (NC State Bar No. 30454)
                                         Jennifer B. Lyday (NC Bar No. 39871)
                                         Francisco T. Morales (NC Bar No. 43079)
                                         101 S. Stratford Road, Suite 210
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                                         Telephone: 336-717-1440


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                                Telefax: 336-717-1340
                                Email: notice@waldrepllp.com

                               - and –

                                HENDREN, REDWINE & MALONE, PLLC

                                Jason L. Hendren (NC State Bar No. 26869)
                                Rebecca F. Redwine (NC Bar No. 37012)
                                4600 Marriott Drive, Suite 150
                                Raleigh, NC 27612
                                Telephone: 919-420-7867
                                Telefax: 919-420-0475
                                Email: jhendren@hendrenmalone.com
                                      rredwine@hendrenmalone.com

                               Attorneys for the Trustee




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